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                           UNITED STATES DISTRICT COURT
 7                       SOUTHERN DISTRICT OF CALIFORNIA
 8
                               ) Case No.: 3:17-cv-01131-WQH-BGS
 9     ERIK KNUTSON, Individually
                               )
       and On Behalf of All Others
10     Similarly Situated,     ) DEFAULT JUDGMENT
                               )
11                Plaintiff,
       v.                      )
12                             )
                               )
13     SOLOMON AND ASSOCIATES,
       LLC,                    )
14                             )
                  Defendant.   )
15
                               )
16                             )
17
                 In the above-captioned matter, Plaintiff, Erik Knutson, requested entry of
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      default judgment against Defendant, Solomon and Associates, LLC. After having
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      considered Plaintiff’s Application for Default Judgment and Award of Costs (Dkt.
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      No. 15), and in accordance with the Court’s order on March 1, 2018 (Dkt. No. 17),
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      a judgment by default is hereby ENTERED in favor of Plaintiff and against
22
      Solomon and Associates, LLC in the amount of $500.00 in statutory damages.
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                 IT IS ORDERED.
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       Dated: March 19, 2018
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      JUDGMENT                                  1                     3:17-cv-01131-WQH-BGS
